Exhibit 1
           TRUE CASH FLOW .
                                         Week       1             2             3            4             5           6           7              8              9            10              11              12             13            14
                                   Week Ending   8/14/21       8/21/21       8/28/21       9/4/21       9/11/21     9/18/21     9/25/21        10/2/21        10/9/21      10/16/21        10/23/21        10/30/21        11/6/21      11/13/21
                                                 Actual        Actual        Actual        Actual       Actual      Actual      Actual        Projected      Projected     Projected       Projected       Projected      Projected     Projected
BALANCE SHEET DATA

Total Cash Inflows From Operations                 316,454       652,823       852,291        65,171      578,029      41,712     853,805        165,915         928,624      618,101         837,802         184,755       1,071,590       97,507
    DIP Loan Proceeds                                                                                               6,250,000                                  1,750,000
    Total Cash Received                                                                                             6,291,712                                  2,678,624
Cash Outflows From Operations
    Payroll & Taxes                                103,866       663,054       358,424       375,219      338,907     480,203     121,932        650,000              0       675,000               0         675,000              0       650,000
    Health & Dental Insurance                            0             0             0             0            0           0           0              0        350,000             0               0               0        150,000             0
     Total Payroll Related Expenses                103,866       663,054       358,424       375,219      338,907     480,203     121,932        650,000        350,000       675,000               0         675,000        150,000       650,000
    Equip Rental - MOON                                  0             0             0             0            0       5,000       1,401          2,500          3,500         3,500           3,500           3,500          3,500         2,500
    Vehicle Leases                                                                   0                                      0       5,259              0              0             0          15,021               0              0             0
    Freight                                                0            0            0             0            0       1,800       1,700         10,000         40,000        40,000          40,000          40,000         40,000         40,000
    Fuel - MOON                                            0            0       10,000         5,000        5,000       5,000           0          6,000          6,000         6,000           6,000           8,000          8,000          8,000
    HMS GL/WC Insurance                                    0            0         28073      112,120            0       2,720       9,036              0        164,218             0               0           9,036                            0
    Material - MOON                                        0        2,800            0         4,590        1,500       5,000           0              0         15,000        15,000          25,000          15,000         25,150        15,150
    Misc MOON                                              0            0          165           311          235         285           0              0         10,000        10,000          10,000          10,000         10,000        10,000
    Misc AP                                                0            0            0        10,000       11,968       1,665         255         10,000         20,000        20,000          30,000          30,000         40,000             0
    Pex - MOON                                             0            0       10,000         5,000        5,000       5,000           0         10,000          5,000         5,000           5,000           5,000          5,000         5,000
    Plants and Materials                                   0            0        9,272             0            0      31,640      57,476         30,000         20,000        10,000          75,000          40,000         40,000              0
    Rent                                                   0            0            0         7,500            0           0           0         20,000              0             0               0               0         20,000             0
    Sales Tax IRS/Sales/Property                           0            0            0             0       25,903           0           0         25,000              0             0               0          25,000              0             0
    Stonemor - PEX                                         0            0       20,000        10,000       10,000      10,000           0         10,000         10,000        10,000          10,000          10,000         10,000        10,000
    Stonemor - Material                                    0            0            0        10,000       12,236      23,478           0         10,000         10,000        10,000          10,000          10,000         10,000        10,000
    Stonemor - Fuel                                        0            0            0         5,000            0       8,000           0          5,000          5,000         5,000           5,000           5,000          5,000         5,000
    Stonemor - Equip Rental                                0            0            0             0        1,406       5,000           0          5,000          5,000         5,000           5,000           5,000          5,000         5,000
    Stonemor - Mowing                                      0            0            0             0       22,312      29,405     122,892          3,687        431,500       344,000               0               0                            0
    Stonemor - Other Subs                                  0            0            0             0            0           0           0              0          3,000             0               0               0          3,000             0
    Subcontracts - MOON                                    0            0            0             0            0           0           0              0              0       100,000               0               0              0             0
    Utilities                                              0            0            0             0            0           0           0         10,000              0             0          10,000               0         10,000

Total Cash Outflows NON Payroll                          0         2,800        77,510       169,521       95,560     133,993     198,019        157,187         748,218       583,500        249,521         215,536        234,650       110,650
    Payroll Total                                  103,866       663,054       358,424       375,219      338,907     480,203     121,932        650,000         350,000       675,000              0         675,000        150,000       650,000
Total Cash Outflows From Operations                103,866       665,854       435,934       544,740      434,467     614,196     319,951        807,187       1,098,218     1,258,500        249,521         890,536        384,650       760,650

Cash Flow From Operations                          212,588        (13,031)     416,357      (479,569)     143,562   5,677,516     533,854        (641,272)     1,580,406      (640,399)       588,281         (705,781)      686,940       (663,143)

Debt Payments
    North Ave Capital                                      0             0                    83,372            0           0             0       83,371              0                0               0       83,371              0                0
    Newtek                                                 0             0                         0       56,695           0             0            0         61,286                0               0            0         61,286                0
    Kore Capital                                                                                   0                5,455,456                                   121,279
Total Debt Payments                                        0             0             0      83,372       56,695   5,455,456             0       83,371        182,565                0               0       83,371         61,286                0

Chapter 11 Expenses
    Professional Fees                                                                                                                             40,000         30,968        36,000         241,057
    UST Fees                                                                                                                                                                                                   80,750
Ending Cash Balance                     74,030     286,618       273,587       689,944       127,003      213,870     435,930     969,784        205,141       1,602,982      962,583        1,309,807        439,905       1,065,559      402,416
           TRUE CASH FLOW .
                                         Week       15              16              17            18              19              20              21
                                   Week Ending   11/20/21        11/27/21         12/4/21      12/11/21        12/18/21        12/25/21          1/1/22      21 Wk total*
                                                 Projected       Projected       Projected     Projected       Projected       Projected       Projected      Projected
BALANCE SHEET DATA

Total Cash Inflows From Operations                 1,914,832        202,263        1,629,192       50,461        1,255,302        972,520        1,008,050    14,297,199
    DIP Loan Proceeds                                                                                                                                         8,000,000
    Total Cash Received                                                                                                                                       22,297,199
Cash Outflows From Operations
    Payroll & Taxes                                       0         650,000               0       600,000               0         600,000               0      6,941,605
    Health & Dental Insurance                       150,000               0               0             0         150,000               0               0        800,000
     Total Payroll Related Expenses                 150,000         650,000               0       600,000         150,000         600,000               0      7,741,605
    Equip Rental - MOON                               2,500           2,500          62,500         2,500           2,500           2,500               0        103,901
    Vehicle Leases                                        0          14,000               0             0               0          13,000               0         47,280
    Freight                                           40,000          10,000          10,000        10,000              0               0                0       323,500
    Fuel - MOON                                        8,000           8,000           5,000         5,000           5,000           2,500           2,500       109,000
    HMS GL/WC Insurance                             165,135            9,036              0       134,218               0            9,036              0        642,628
    Material - MOON                                   25,150         15,150           22,750       12,750           15,750              0               0        215,740
    Misc MOON                                        60,000          10,000          10,000        10,000          10,000          10,000               0        170,996
    Misc AP                                          80,000          40,000          35,000        35,000          35,000                0              0        398,888
    Pex - MOON                                        5,000           5,000           5,000         5,000           5,000           2,000           5,000         97,000
    Plants and Materials                             80,000          40,000          107,500        7,500           7,500               0               0        555,888
    Rent                                                  0               0          20,000             0               0               0          20,000         87,500
    Sales Tax IRS/Sales/Property                          0          25,000               0             0               0          25,000               0        125,903
    Stonemor - PEX                                   10,000          10,000          10,000        10,000          10,000          10,000          10,000        190,000
    Stonemor - Material                              10,000          10,000          10,000        10,000          10,000          10,000          10,000        185,714
    Stonemor - Fuel                                   5,000           5,000           5,000         5,000           5,000           5,000           5,000         83,000
    Stonemor - Equip Rental                           5,000           5,000           5,000         5,000           5,000           5,000           5,000         76,406
    Stonemor - Mowing                               175,000               0               0             0               0               0               0      1,128,796
    Stonemor - Other Subs                                 0               0               0             0               0               0               0          6,000
    Subcontracts - MOON                             100,000               0               0        40,000               0               0               0        240,000
    Utilities                                                                        10,000                                                        10,000         50,000

Total Cash Outflows NON Payroll                     770,785         208,686         317,750       291,968         110,750          94,036          67,500      4,838,140
    Payroll Total                                   150,000         650,000               0       600,000         150,000         600,000               0      7,741,605
Total Cash Outflows From Operations                 920,785         858,686         317,750       891,968         260,750         694,036          67,500     12,579,745

Cash Flow From Operations                           994,047         (656,423)      1,311,442      (841,507)       994,552         278,484         940,550      1,717,454

Debt Payments
    North Ave Capital                                        0                       83,371                0               0               0       83,371        416,856
    Newtek                                                   0                       61,286                0               0               0       61,286        301,839
    Kore Capital                                                                                                                                               5,576,735
Total Debt Payments                                          0               0      144,657                0               0               0      144,657      6,295,430

Chapter 11 Expenses
    Professional Fees                               300,000                                                       340,000                                        988,025
    UST Fees                                                                                                                                                      80,750
Ending Cash Balance                     74,030     1,096,463        440,040        1,606,825      765,318        1,419,870       1,698,354       2,494,247     2,427,279
Exhibit 2
                           Schedule 1                              Schedule 2
                       (Milestones)                             (Existing Liens)
Event                                   Deadline            North Avenue Capital, LLC
Entry of Final DIP Order                November 4, 2021    Newtek Small Business Finance LLC
                                                            (guaranteed by the SBA)
File Sale Motion                        November 1, 2021
                                                            Ross Capital Partners, LLC
Approval of Sale Procedures             November 22, 2021
                                                            Padco Financial Services, Inc. (Equipment
Bid Deadline                            December 13, 2021   Lease)
Auction                                 December 16. 2021   Ailco Equipment Finance Group, Inc.
Sale Hearing                            December 20, 2021   (Secured by Equipment)

Sale Closing                            December 31, 2021   The Internal Revenue Service

Maturity Date                           +18 months
       Schedule 3                                          Schedule 4
(Permitted Senior Liens)                              (Excluded Collateral)
North Avenue Capital, LLC                   Avoidance Actions and the proceeds thereof
Newtek Small Business Finance LLC
(guaranteed by the SBA)
Padco Financial Services, Inc. (Equipment
Lease)
Ailco Equipment Finance Group, Inc.
(Secured by Equipment)
The Internal Revenue Service
            TRUE CASH FLOW .
                                          Week      1             2             3            4             5            6             7            8             9              10              11
                                   Week Ending   8/14/21       8/21/21       8/28/21       9/4/21       9/11/21      9/18/21       9/25/21      10/2/21       10/9/21        10/16/21        10/23/21
                                                 Actual        Actual        Actual        Actual       Actual      Projected     Projected    Projected     Projected       Projected       Projected
BALANCE SHEET DATA

Total Cash Inflows From Operations                 316,454       652,823       852,291        65,171      578,029        79,447      848,144       165,915      928,624         618,101         837,802
    DIP Loan Proceeds                                                                                                 6,250,000                  1,750,000
    Total Cash Received                                                                                               6,329,447                  1,915,915
Cash Outflows From Operations
    Payroll & Taxes                                103,866       663,054       358,424       375,219      338,907      650,000             0      650,000             0         650,000               0
    Health & Dental Insurance                            0             0             0             0            0            0       300,000       50,000             0               0         150,000
     Total Payroll Related Expenses                103,866       663,054       358,424       375,219      338,907      650,000       300,000      700,000             0         650,000         150,000
    Equip Rental - MOON                                  0             0             0             0            0            0         2,500        2,500         2,500           2,500           2,500
    Vehicle Leases                                                                   0                                       0        16,463            0             0               0          15,021
    Freight                                                0            0            0             0            0        2,500        20,000       20,000        20,000          20,000          20,000
    Fuel - MOON                                            0            0       10,000         5,000        5,000        5,000         6,000        6,000         6,000           6,000           6,000
    HMS GL/WC Insurance                                    0            0         28073      112,120            0            0       134,218       30,000             0               0         138,226
    Material - MOON                                        0        2,800            0         4,590        1,500            0             0            0        15,000          15,000          25,000
    Misc MOON                                              0            0          165           311          235            0             0            0             0               0               0
    Misc AP                                                0            0            0        10,000       11,968            0        15,000       10,000        20,000          20,000          30,000
    Pex - MOON                                             0            0       10,000         5,000        5,000        5,000         5,000        5,000         5,000           5,000           5,000
    Plant Materials                                        0            0        9,272             0            0       82,779        50,000       60,000        20,000          10,000          75,000
    Rent                                                   0            0            0         7,500            0            0             0       20,000             0               0               0
                                                                                                                                                                                                             Case 21-11140-CSS




    Sales Tax IRS/Sales/Property                           0            0            0             0       25,903            0             0       25,000             0               0               0
    Stonemor - PEX                                         0            0       20,000        10,000       10,000       10,000        10,000       10,000        10,000          10,000          10,000
    Stonemor - Material                                    0            0            0        10,000       12,236       10,000        10,000       10,000        10,000          10,000          10,000
    Stonemor - Fuel                                        0            0            0         5,000            0        5,000         5,000        5,000         5,000           5,000           5,000
    Stonemor - Equip Rental                                0            0            0             0        1,406        5,000         5,000        5,000         5,000           5,000           5,000
    Stonemor - Mowing                                      0            0            0             0       22,312            0        75,000       75,000        75,000          75,000          75,000
    Stonemor - Other Subs                                  0            0            0             0            0            0             0            0             0               0               0
    Subcontracts - MOON                                    0            0            0             0            0            0             0            0             0               0               0
                                                                                                                                                                                                             Doc 165-1




    Utilities                                              0            0            0             0            0       10,000             0       10,000             0               0          10,000

Total Cash Outflows NON Payroll                          0         2,800        77,510       169,521       95,560      135,279       354,181      293,500       193,500         183,500         431,747
    Payroll Total                                  103,866       663,054       358,424       375,219      338,907      650,000       300,000      700,000             0         650,000         150,000
Total Cash Outflows From Operations                103,866       665,854       435,934       544,740      434,467      785,279       654,181      993,500       193,500         833,500         581,747

Cash Flow From Operations                          212,588        (13,031)     416,357      (479,569)     143,562     5,544,168      193,963      922,415       735,124         (215,399)       256,055

Debt Payments
    North Ave Capital                                      0             0                    83,372            0             0       83,371            0                0               0               0
                                                                                                                                                                                                             Filed 09/15/21




    Newtek                                                 0             0                         0       56,695             0            0       61,286                0               0               0
    Kore Capital                                                                                   0                  5,500,000
Total Debt Payments                                        0             0             0      83,372       56,695     5,500,000       83,371       61,286                0               0               0

Chapter 11 Expenses
   Professional Fees                                                                                                    40,000                    200,000                                       180,000
   UST Fees
Ending Cash Balance                     74,030     286,618       273,587       689,944       127,003      213,870      218,038       328,630      989,759      1,724,883       1,509,484       1,585,539
                                                                                                                                                                                                             Page 18 of 20
            TRUE CASH FLOW .
                                          Week      12             13            14              15              16             17              18              19              20              21
                                   Week Ending   10/30/21        11/6/21      11/13/21        11/20/21        11/27/21        12/4/21        12/11/21        12/18/21        12/25/21          1/1/22      21 Wk total*
                                                 Projected      Projected     Projected       Projected       Projected      Projected       Projected       Projected       Projected       Projected      Projected
BALANCE SHEET DATA

Total Cash Inflows From Operations                  184,755       1,071,590       97,507        1,914,832        202,263       1,629,192         50,461        1,255,302        972,520        1,008,050    14,329,273
    DIP Loan Proceeds                                                                                                                                                                                       8,000,000
    Total Cash Received                                                                                                                                                                                     22,329,273
Cash Outflows From Operations
    Payroll & Taxes                                 650,000              0       650,000               0         650,000              0         600,000               0         600,000               0      6,939,470
    Health & Dental Insurance                             0              0             0         150,000               0              0               0         150,000               0               0        800,000
     Total Payroll Related Expenses                 650,000              0       650,000         150,000         650,000              0         600,000         150,000         600,000               0      7,739,470
    Equip Rental - MOON                               2,500          2,500         2,500           2,500           2,500          1,500           1,500           1,500           1,000               0         30,500
    Vehicle Leases                                        0              0             0               0          14,000              0               0               0          13,000               0         58,484
    Freight                                          20,000         25,000         25,000          25,000          25,000         25,000          25,000              0               0                0       272,500
    Fuel - MOON                                       8,000          8,000          8,000           8,000           8,000          5,000           5,000           5,000           2,500           2,500       115,000
    HMS GL/WC Insurance                                   0         26,909             0         134,218                0             0               0               0                0              0        603,764
    Material - MOON                                  15,000         25,150        15,150           25,150         15,150          22,750         12,750           15,750              0               0        210,740
    Misc MOON                                             0              0             0               0               0         10,000               0                               0               0         10,711
    Misc AP                                          30,000         40,000        40,000          40,000          40,000         35,000          35,000          35,000                0              0        411,968
    Pex - MOON                                        5,000          5,000         5,000           5,000           5,000          5,000           5,000           5,000           2,000           5,000         97,000
    Plant Materials                                  40,000         40,000         40,000         40,000          40,000           7,500          7,500           7,500               0               0        529,551
    Rent                                                  0         20,000             0               0               0         20,000               0               0               0          20,000         87,500
                                                                                                                                                                                                                          Case 21-11140-CSS




    Sales Tax IRS/Sales/Property                     25,000              0             0               0          25,000              0               0               0          25,000               0        125,903
    Stonemor - PEX                                   10,000         10,000        10,000          10,000          10,000         10,000          10,000          10,000          10,000          10,000        200,000
    Stonemor - Material                              10,000         10,000        10,000          10,000          10,000         10,000          10,000          10,000          10,000          10,000        182,236
    Stonemor - Fuel                                   5,000          5,000         5,000           5,000           5,000          5,000           5,000           5,000           5,000           5,000         85,000
    Stonemor - Equip Rental                           5,000          5,000         5,000           5,000           5,000          5,000           5,000           5,000           5,000           5,000         81,406
    Stonemor - Mowing                                75,000              0             0               0               0              0               0               0               0               0        472,312
    Stonemor - Other Subs                                 0              0             0               0               0              0               0               0               0               0              0
    Subcontracts - MOON                             240,000              0             0               0               0              0               0               0               0               0        240,000
                                                                                                                                                                                                                          Doc 165-1




    Utilities                                             0         10,000                                                       10,000                                                          10,000         60,000

Total Cash Outflows NON Payroll                      490,500       232,559       165,650         309,868         204,650        171,750         121,750          99,750          73,500          67,500      3,874,575
    Payroll Total                                    650,000             0       650,000         150,000         650,000              0         600,000         150,000         600,000               0      7,739,470
Total Cash Outflows From Operations                1,140,500       232,559       815,650         459,868         854,650        171,750         721,750         249,750         673,500          67,500     11,614,045

Cash Flow From Operations                           (955,745)      839,031       (718,143)      1,454,964        (652,387)     1,457,442        (671,289)      1,005,552        299,020         940,550      2,715,228

Debt Payments
    North Ave Capital                                83,371              0                0               0       83,371                 0               0               0               0       83,371        416,856
                                                                                                                                                                                                                          Filed 09/15/21




    Newtek                                                0         61,286                0               0       61,286                 0               0               0               0       61,286        301,839
    Kore Capital                                                                                                                                                                                             5,500,000
Total Debt Payments                                  83,371         61,286                0               0      144,657                 0               0               0               0      144,657      6,218,695

Chapter 11 Expenses
   Professional Fees                                                                             375,000                                                        375,000                                      1,170,000
   UST Fees                                          80,750                                                                                                                                                     80,750
Ending Cash Balance                     74,030      465,673       1,243,418      525,275        1,605,239        808,195       2,265,637       1,594,348       2,224,900       2,523,920       3,319,813     3,319,813
                                                                                                                                                                                                                          Page 19 of 20
